          Case MDL No. 2873 Document 2063 Filed 08/28/23 Page 1 of 3



                                   UNITED STATES JUDICIAL PANEL
                                                on
                                    MULTIDISTRICT LITIGATION



IN RE: AQUEOUS FILM−FORMING FOAMS
PRODUCTS LIABILITY LITIGATION                                                                     MDL No. 2873



                                       (SEE ATTACHED SCHEDULE)



                            CONDITIONAL TRANSFER ORDER (CTO −150)



On December 7, 2018, the Panel transferred 75 civil action(s) to the United States District Court for the
District of South Carolina for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407.
See 357 F.Supp.3d 1391 (J.P.M.L. 2018). Since that time, 496 additional action(s) have been transferred to
the District of South Carolina. With the consent of that court, all such actions have been assigned to the
Honorable Richard M. Gergel.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the District of South Carolina and assigned to Judge Gergel.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the District of South Carolina
for the reasons stated in the order of December 7, 2018, and, with the consent of that court, assigned to the
Honorable Richard M. Gergel.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the District of South Carolina. The transmittal of this order to said Clerk shall be stayed 7 days from
the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day period,
the stay will be continued until further order of the Panel.



                                                            FOR THE PANEL:




                                                            Tiffaney D. Pete
                                                            Clerk of the Panel
         Case MDL No. 2873 Document 2063 Filed 08/28/23 Page 2 of 3




IN RE: AQUEOUS FILM−FORMING FOAMS
PRODUCTS LIABILITY LITIGATION                                                  MDL No. 2873



                     SCHEDULE CTO−150 − TAG−ALONG ACTIONS



  DIST       DIV.      C.A.NO.      CASE CAPTION


ALABAMA NORTHERN

  ALN          2       23−01058     Bane et al v. 3M Company
  ALN          2       23−01059     DeBoer et al v. 3M Corporation et al
  ALN          2       23−01060     Palmer et al v. 3M Company et al
  ALN          2       23−01061     Tabb et al v. 3M Company et al
  ALN          2       23−01062     CASTOR v. 3M Company et al

DISTRICT OF COLUMBIA

   DC          1       23−02387     DISTRICT OF COLUMBIA v. 3M COMPANY et al

MARYLAND

                                    Washington Suburban Sanitary Commission V. 3M Company
  MD           8       23−02108     et al

MASSACHUSETTS

  MA           1       23−11840     Town of Groton et al v. Angus Fire et al
  MA           1       23−11841     Town of Plymouth v. The 3M Company et al
  MA           1       23−11842     RAS Trust v. The 3M Company et al
  MA           1       23−11847     Seekonk Water District v. The 3M Company et al
  MA           1       23−11849     City of Woburn v. The 3M Company et al

NEW JERSEY

   NJ          3       23−04812     BOROUGH OF GLEN GARDNER v. 3M COMPANY et al

NEW YORK SOUTHERN

                                    Young et al v. 3M Company (f/k/a Minnesota Mining and
  NYS          1       23−07160     Manufacturing, Co) et al
  NYS          1       23−07171     Schofield et al v. The 3M Company et al
  NYS          7       23−07057     City of Eagan v. The 3M Company et al
                                    Central Texas Water Supply Corporation v. The 3M
  NYS          7       23−07062     Company et al
  NYS          7       23−07076     City of Fairhope v. The 3M Company et al
  NYS          7       23−07125     Corning Municipal Utilities v. The 3M Company et al
  NYS          7       23−07161     Town of Dover v. The 3M Company et al
  NYS          7       23−07185     City of Mayville W.W. v. The 3M Company et al
        Case MDL No. 2873 Document 2063 Filed 08/28/23 Page 3 of 3

  NYS         7       23−07207     Town of Lakeville v. The 3M Company et al
  NYS         7       23−07237     Eastmoreland W.S.A. Inc. v. The 3M Company et al
  NYS         7       23−07370     City of Newburgh v. AGC Inc. et al

OHIO NORTHERN

  OHN         4       23−01557     Mahoning Valley Sanitary District v. 3M Company et al.

OHIO SOUTHERN

  OHS         1       23−00508     Village of New Richmond v. 3M Company et al
                                   Board of County Commissioners of Warren County, Ohio v.
  OHS         1       23−00512     3M Company et al
